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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES OF AMERICA                         §
                Plaintiff                        §
                                                 §
v.                                               §                  1:20-mj-00795-SH-1
                                                 §
(1) ADRIANA GARCIA                               §
                Defendant                        §


             Order On Petition for Action on Conditions of Pretrial Release

     This matter came before the Court on September 22, 2020, for a hearing on the Pretrial

Services Office’s Petition for Action on Conditions of Release, dated September 8, 2020

(“Petition”). The revocation proceeding was held in accordance with the Federal Rules of

Criminal Procedure and 18 U.S.C. § 3148. In the interests of justice, the hearing was conducted

by video teleconference due to the exigent circumstances created by the COVID-19 pandemic.

Both parties consented to proceed by video teleconference, and the defendant, her attorney, and

the attorney for the Government were present throughout the hearing.

     Defendant Adriana Garcia was ordered released on conditions on July 28, 2020. The petition

alleges that Ms. Garcia failed to report to Pretrial Services as directed on August 26, 2020, and

Pretrial Services was unsuccessful in communicating with her via phone. Also, Ms. Garcia’s

grandmother and third-party custodian advised that Ms. Garcia did not reside with her as ordered

in Austin, Texas, where she was being supervised. The United States District Court for the

Western District of Texas, Del Rio Division, issued a warrant for Ms. Garcia’s arrest on

September 8, 2020, and she was arrested on September 15, 2020, in Kyle, Hays County, Texas.

     The Court has considered the original Pretrial Services Report, the Petition, and the proffer

and arguments of counsel for Ms. Garcia and for the government at the revocation hearing.


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Pursuant to 18 U.S.C. § 3148(b)(1)(B), the Court finds that there is clear and convincing

evidence that Ms. Garcia violated at least the following Conditions of Release, requiring her to:

           •   7(c) Reside at 12114 Brookswood Ave., Austin, Texas 78721; and

           •   7(e) Report to U.S. Pretrial Services as directed.

   The Court further finds, pursuant to 18 U.S.C. § 3148(b)(2)(B), that, based on her failure to

abide by these crucial conditions of her release for a period of weeks, Ms. Garcia is unlikely to

abide by any condition or combination of conditions of release.

   It is therefore ORDERED that Ms. Garcia’s previous release on conditions is REVOKED

and she is HEREBY DETAINED pending further proceedings in this case.

                                Directions Regarding Detention

   Ms. Garcia is remanded to the custody of the Attorney General or his designated

representative for transport to the Del Rio Division for further proceedings in Case

No. 2:20-cr-1340-AM-2 and confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending appeal.

The defendant must be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of an attorney for the

Government, the person in charge of the corrections facility shall deliver Ms. Garcia to the

United States Marshal for the purpose of an appearance in connection with a court proceeding.

   SIGNED September 22, 2020.


                                                     SUSAN HIGHTOWER
                                                     UNITED STATES MAGISTRATE JUDGE




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